
61 So.3d 1281 (2011)
Norman YOUNG, Appellant,
v.
CITY OF DAYTONA BEACH SHORES, et al., Appellee.
No. 5D10-1723.
District Court of Appeal of Florida, Fifth District.
May 27, 2011.
Edward S. Rue, of Rue &amp; Ziffra, P.A., Port Orange, for Appellant.
Kevin E. Jakab, and Kerry C. Collins, of Jakab Law, PLLC, Jacksonville, for Appellee, Cahuenga Associates, II, Ltd.
No appearance for Appellee, City of Daytona Beach Shores.
PER CURIAM.
In this negligence action, Norman Young appeals from a summary final judgment entered in favor of Cahuenga Associates II, Ltd. Following our de novo review, see Volusia County v. Aberdeen at Ormond Beach L.P., 760 So.2d 126, 130 (Fla.2000), we conclude, as the trial court did, that there are no material issues of disputed fact and that Cahuenga was entitled to a judgment as a matter of law. See Fla. R. Civ. P. 1.510.
AFFIRMED.
PALMER, ORFINGER and COHEN, JJ., concur.
